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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LINCOLN LIFE ASSUR. CO.,                     :     Civil No. 3:19-CV-1769
                                             :
      Plaintiff                              :
                                             :
v.                                           :     (Magistrate Judge Carlson)
                                             :
GARY SAMPSON, et al.,                        :
                                             :
      Defendants                             :

                                     ORDER

      AND NOW, this 16th day of October 2020, in accordance with the

accompanying Memorandum Opinion and the evidence presented at the non-jury

trial of this case, in this interpleader action IT IS ORDERED as follows:

      Finding that Wheeler Sampson was mentally competent and that he was not

under any undue influence at the time that Sampson changed the beneficiary

designation on this life insurance policy to remove Gary Sampson as beneficiary and

to distribute these death benefits instead in equal shares to his granddaughters,

Valerie and Ashli Sampson, and his nephew, Prentis Jackson. IT IS ORDERED that

Gary Sampson’s claim upon these moneys deposited with this court is DENIED,

Prentis Jackson’s claim upon these proceeds is GRANTED, and, consistent with the

beneficiary designation signed by Wheeler Sampson on February 15, 2019, IT IUS

ORDERED that the clerk shall disburse the $26,905.35 death benefit under
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Sampson’s insurance policy deposited with the clerk in equal 1/3 shares of

$8,968.45, plus any accrued interest, to Valerie Sampson, Ashli Sampson, and

Prentis Jackson.

      IT IS FURTHER ORDERED that the clerk close this case.



                                         /s/ Martin C. Carlson
                                         Martin C. Carlson
                                         United States Magistrate Judge




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